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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )                  No. 07-10142-18-JTM
                                    )
TROY LANGSTON,                      )
a/k/a “No Sight”                    )
a/k/a “Sight”                       )
                                    )
                  Defendant.        )
                                    )
___________________________________ )


                               MEMORANDUM AND ORDER

       Presently before the Court is defendant Troy Langston’s Motion for Bill of Particulars

(Dkt. No. 240). This court conducted a hearing on the matter where it denied the motion. This

order serves to memorialize those findings.

                                          1. Arguments

       Initially, Langston asked this court to require the United States to provide the following

information: (1) the address of occurrence for Racketeering Act Twenty-three; (2) the address of

occurrence for Racketeering Act Six; (3) the names and addresses of witnesses to Racketeering

Act Six; (4) the names and addresses of all co-conspirators who were not indicted; (5) the names

and addresses of all persons known to be employed by and associated with the Crips as alleged in

Count 2; and (6) with regard to the witnesses referenced in the preceding requests, whether the

individuals are in custody, protective or otherwise.
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       After the United States’ response, Langston believed that there were only 3 issues left in

dispute: (1) whether the government should be required to disclose the names of unindicted co-

conspirators; (2) whether the government should be required to identify those persons “employed

by and associated with the Crips” as the government alleges in the superseding indictment; (3)

whether the government should be required to identify witnesses to Racketeering Act Six alleged

in the superseding indictment against Langston. Specifically, Langston argued that acts charged

in the Count Six occurred over thirteen years ago, and that the indictment alleges that there were

others known to the government who were involved in the attempted murder. Because it was so

long ago, Langston argued that he has a right to know who is going to testify to the act in order to

adequately prepare a defense. Langston also relied on several cases, many outside of the district

of Kansas, for the proposition that courts have required the government to disclose unidentified

co-conspirators.

       The government countered that the superseding indictment sufficiently states the offenses

charged in the language of the statutes, and that it, along with the discovery that has been

provided and will be provided, will allow Langston to prepare his defense, minimize his surprise

at trial, and enable him to plead double jeopardy in the event of a later prosecution for the same

offense. Further, the government requests that the court find that Langston’s motion is actually a

motion for discovery or a motion to compel the government to provide a witness list, which is

not the proper function of a bill of particulars. Finally, the government argued that Langston has

not met his burden by repeatedly stating that the defendant is prejudiced or surprised in a

generalized and conclusory manner.

                                        2. Legal Standard


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         Generally, an indictment is judged “by practical rather than technical considerations” and

is held to only minimal constitutional standards. United States v. Dashney, 117 F.23d 1197,

1205 (10th Cir. 1997). “An indictment is sufficient ‘if it contains the elements of the offense

charged, putting the defendant on fair notice of the charge against which he must defend and if it

enables a defendant to assert an acquittal or conviction in order to prevent being placed in

jeopardy twice for the same offense.” United States v. Poole, 929 F.2d 1476, 1479 (10th Cir.

1991).

         The district court has broad discretion in deciding whether to grant a motion for bill of

particulars. United States v. Edmonson, 962 F.2d 1535, 1541 (10th Cir. 1992). The purpose of a

bill of particulars is to supplement the allegations in the indictment when necessary to: (1) inform

the defendant of the charge against him with sufficient precision to allow him to prepare his

defense; (2) avoid unfair surprise to the defendant at trial; and (3) preclude a second prosecution

for the same offense. United States v. Ivy, 83 F.3d 1266, 1281 (10th Cir. 1996) (quotations

omitted); United States v. Anderson, 31 F. Supp. 2d 933, 937-38 (D. Kan. 1998).

         Further, the purpose of the bill of particulars is to minimize the defendant’s surprise to

the substantive facts of the charges, but not to obtain discovery, evidentiary detail of the

government’s case, or information regarding the government’s legal theories. See United States

v. Hopkins, 716 F.2d 739, 745 (10th Cir. 1982). “Unless the request for the bill of particulars

shows, on its face, that the failure to grant the request would result in prejudicial surprise, the

preclusion of an opportunity for meaningful defense precaution, [or double jeopardy problems,]

defendant has the burden of showing that his or her request meets one of the three criteria.”

Anderson, 31 F. Supp. 2d at 938.


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          In this case, it appears as though the superseding indictment is framed in the statutory

language, and is specific to each count. Further, the conspiracy charge is particularized to a

degree beyond customary expectation. As such, it appears that generally, Langston’s request is

denied.

          Although Langston made a valid point with regard to unindicted co-conspirators, this

court still denies his motion. Langston correctly pointed out that courts have held that

“defendants are entitled to know the identity of any unindicted co-conspirators. Without such

information, the defendants may be subject to prejudicial surprise or double jeopardy problems.”

Anderson, 31 F. Supp. 2d at 938. Nevertheless, the Anderson case is distinguishable because the

underlying offense in Anderson was a Medicare fraud scheme, and thus the dangers relating to

witness intimidation associated in the present case with alleged gang members were arguably not

there. Further, the other cases in the Tenth Circuit cited by the defendant for support also deal

with white-collar fraud schemes, and not the sensitive criminal issues present in this case. Thus,

balancing witness safety and defendant’s rights, Langston’s motion is denied.

          IT IS SO ORDERED this 13th day of May, 2008.




                                                        s/ J. Thomas Marten
                                                        J. THOMAS MARTEN, JUDGE




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